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Esther Hoffman, Sarah Douglass, et al.                                                 18-CV-01 132-TSZ
                                                                     Case Number:



 Plaintiff(s)                                                        APPLICATION FOR LEAVE TO APPEAR
                                                                     PRO HAC VICE

 V.

Transworld Systems, Inc.; Patenaude and Felix,
A.P.C.; Matthew Cheung and the marital community
comprised of Matthew Cheung and Jane Doe Cheung

     Defendant(s)


Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,

         James K. Schultz                                  hereby applies for permission to appear and participate as

counsel in the above entitled action on behalf of the following party or parties:

 Defendant, Transworld Systems, Inc.




The particular need for my appearance and participation is:

 I have extensive knowledge and experience with this matter and defendant Transworld Systems,
 Inc.




I,
         James K. Schultz                                  understand that I am charged with knowing and complying with
all applicable local rules;


I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.


I declare under penalty of perjury that the foregoing is true and correct.




          6/2/2020                                                                     James K. Schultz
Date:                                                     Signature of Applicant: $/




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Pro Hac Vice Attorney


Applicant's Name:                 James K. Schultz
Law Firm Name:                    Sessions, Fishman, Nathan & Israel
Street Address 1:                 1545 Hotel Circle So., Ste. 150
Address Line 2:

City:
        San Diego                                     State:
                                                               CA           Zip:
                                                                                   92108

Phone Number w/ Area Code
                                   (619)758-1891                   Bar#
                                                                          309945              State
                                                                                                      CA
Primary E-mail Address: jSChultZ@sessions. legal
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)


Secondary E-mail Address:
                                mwinder@sessions.legal


                                       STATEMENT OF LOCAL COUNSEL


I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant James K. Schultz                                                  is unable to be present upon any date
assigned by the court.

                                                                      Stephen G. Skinner
Date:
        6/2/2020                  Signature of Local Counsel: s/


Local Counsel's Name:
                                   Stephen G. Skinner

Law Firm Name:
                                  Andrews Skinner, P.S.

Street Address 1:
                                  645 Elliott Avenue West, Suite 350

Address Line 2:


City:
        Seattle                                       State:
                                                               WA           Zip:
                                                                                   98119

Phone Number w/ Area Code.
                                  (206) 223-9248                   Bar#
                                                                          17317




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                                         Electronic Case Filing Agreement


       Is




 By submitting this form, the undersigned understands and agrees to the following:

1.    The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
       notices.


2.    The PACER password combined with your login, serves as your signature under Federal Rule of Civil
      Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
      against unauthorized use.


3.     If you have any reason to suspect that your password has been compromised in any way, you are
       responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.


4.     By signing this Registration Form, you consent to receive notice electronically and waive your right to
       receive notice by personal service or first-class mall pursuant to Federal Rule of Civil Procedure
       5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
       electronic notice of the entry of an order or judgment.


5.     You will continue to access court information via the Western District of Washington's internet site or
       through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
       login and password, will be required to electronically file. You can register for PACER access at their web
       site: www.pacer.gov.


6.     By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
       most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
       changes or additions that may be made to such administrative procedures in the future.


     Date Signed.
                          6/2/2020         Signature s/.
                                                           James K. Schultz

                                                           (Pro Hoc Vice applicant name)




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